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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA


       v.                                                 Criminal No.: ELH-17-475

   JACKIE BAGLEY
       Defendant.

                                   MEMORANDUM OPINION

       This Memorandum Opinion resolves a motion for compassionate release filed by the self-

represented defendant, Jackie Bagley. See ECF 573 (the “Motion”). Bagley pled guilty in

November 2018 to conspiracy to distribute controlled dangerous substances, for which he is

serving a sentence of 144 months’ imprisonment. See ECF 457; ECF 491; ECF 492. According

to defendant, in light of the COVID-19 pandemic, his various health conditions present

extraordinary and compelling circumstances that warrant his release from prison. ECF 573 at 1.

He also asks the Court to appoint counsel to assist him in litigating the Motion. Id. at 1-2.1

       The government’s opposition is docketed at ECF 613 (the “Opposition”), and it is

supported by two exhibits. Defendant has replied. ECF 626 (the “Reply”).

       No hearing is necessary to resolve the Motion. See Local Rule 105.6. For the reasons that

follow, I shall deny the Motion.

                                          I. Background

       Bagley was one of thirteen people charged in a Superseding Indictment filed on October

24, 2017. ECF 16. Three Superseding Indictments followed, charging a total of sixteen people.


       1
        As discussed, infra, the Office of the Public Defender (“OPD”) has declined to represent
Bagley. ECF 577.
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See ECF 158; ECF 188; ECF 288. In the Fourth Superseding Indictment, Bagley was charged in

Count One with conspiracy to distribute “one kilogram or more of a mixture or substance

containing a detectable amount of heroin, a detectable amount of cocaine, a detectable amount of

cocaine base, and a detectable amount of fentanyl,” in violation of 21 U.S.C. § 841. ECF 288 at

1-3. Count Two charged defendant with conspiracy to possess a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(o). ECF 288 at 4. And, defendant was charged

in Count Three with possession and discharge of a firearm in furtherance of a drug trafficking

crime, in violation of 18 U.S.C. § 924 (c)(1)(A). ECF 288 at 5.

       On November 8, 2018, defendant entered a plea of guilty (ECF 457) to Count One of the

Fourth Superseding Indictment, pursuant to a Plea Agreement under FED. R. CRIM. P. 11(c)(1)(C).

ECF 458 (the “Plea Agreement”). The Plea Agreement included a stipulated Statement of Facts.

Id. at 8-9. According to the stipulation, from January 2012 through October 24, 2017, Bagley,

along with co-defendant Ernest McRae, controlled a drug trafficking organization (“DTO”) that

operated in the vicinity of 1100 North Montford Avenue in Baltimore and distributed “heroin,

fentanyl, cocaine, and cocaine base at an open-air drug market.” Id. at 8.

       Specifically, the Statement of Facts provided that McRae and Bagley “served as the leaders

of the DTO and supplied lieutenants with drugs on a regular basis,” who would, “in turn, supply

street-level drug dealers . . .” Id. The street-level dealers kept “a portion of proceeds and turned

over the rest of the drug proceeds to the lieutenants.” The lieutenants “then directly turned over

these profits to McRae or Bagley on a nearly daily basis.” Id. And, according to the Statement of

Facts, on a daily basis the DTO “distributed approximately 375 to 750 ten-dollar doses of heroin

to drug buyers.” Id. Accordingly, the Statement of Facts indicated that over the course of his

leadership of the conspiracy, “it was reasonably foreseeable to [Bagley] that the DTO distributed



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over one kilogram of heroin.” ECF 458 at 8. Moreover, in 2017 McRae and Bagley “began cutting

the heroin with fentanyl.” Id.

        The Statement of Facts also provided that on September 8, 2017, McRae was “arrested by

ATF investigators,” after which he “remained detained pending trial on a federal charges [sic].”

Id. And, after McRae’s arrest, “Bagley took over McRae’s duties and took a more active rule in

collecting drug proceeds and supplying the DTO with heroin.” Id.

        In the Plea Agreement, the parties contemplated a base offense level of 30, pursuant to §

2D1.1(c)(5) of the United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”). ECF 458,

⁋ 5(a). And, the parties agreed that, under U.S.S.G. § 3B1.1(b), “[b]ecause of the Defendant’s role

as a leader in the criminal activity and the activity involved five or more participants,” the offense

level was subject to a four-level increase. Id. ⁋ 5(b). After deductions for acceptance of

responsibility, the parties contemplated a final offense level of 31. Id. ⁋ 5(d).

        Notably, the parties agreed “that a sentence of 144 months (12 years) of incarceration” was

the appropriate resolution of this case, in light of the nature of the instant offense, Bagley’s criminal

history and the sentencing factors outlined in 18 U.S.C. § 3553(a). Id. ⁋⁋ 7-8.

        The Presentence Investigation Report (ECF 489, the “PSR”) reflected that defendant, born

in 1979, was 39 years of age. Id. at 2. He had one prior criminal conviction. Id. ⁋⁋ 25-26.

Specifically, defendant was convicted of “Attempt by Driver to Elude Uniformed Police by Failing

to Stop.” Id. ⁋ 26. He was sentenced on June 12, 2012, to a suspended sentence of one year of

imprisonment and one year of probation. Id. Defendant had a Criminal History Category of II.

Id. ⁋ 29.

        Sentencing was held on February 1, 2019. ECF 490; see ECF 507 (Transcript). Bagley

was 39 years old at the time. ECF 489 at 2. Based on a final offense level of 31 and a criminal



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history category of II (ECF 492 at 1), the Guidelines called for a period of imprisonment ranging

from 121 to 151 months. Id. And, the offense of conviction was subject to a mandatory minimum

sentence of ten years’ imprisonment. See ECF 489, ⁋ 55; see also 21 U.S.C. § 841(b)(1)(A).

       The PSR indicated that, at the age of 28, defendant began using cocaine and, at the age of

33, he began abusing Percocet “on a daily basis.” Id. ⁋ 45. Bagley reported that he has “never had

the benefit of substance abuse treatment.” Id. ⁋ 46. Moreover, according to the PSR, Bagley

dropped out of high school in the eleventh grade. Id. ⁋ 47. However, defendant noted that he

obtained his GED in 1997. Id. ⁋ 48.

       Pursuant to the terms of FED. R. CRIM. P. 11(c)(1)(C), the Court imposed a sentence of 144

months’ imprisonment, with credit from October 25, 2017, to be followed by a five-year term of

supervised release. ECF 491 at 2-3.

       In the Plea Agreement, Bagley waived many of his rights to appeal. ECF 458, ⁋ 11.

Nevertheless, on February 4, 2019, Bagley appealed his sentence to the Court of Appeals for the

Fourth Circuit. ECF 493. There, he argued that the sentence imposed by the Court was

unreasonable because it “(1) appl[ied] an incorrect criminal history category in calculating

Bagley’s Sentencing Guidelines range; and (2) fail[ed] to consider Bagley’s allocution and the

harsh conditions of his pretrial confinement in support of his request for a lower sentence.” United

States v. Bagley, 774 F. App’x 142, 143 (4th Cir. 2019) (per curiam).2 The Fourth Circuit rejected

both arguments, first finding that because “the Maryland offense . . . satisfied the requirements of

U.S.S.G. § 4A.1.1(c) and (d)” the Court correctly “assign[ed] criminal history points based on that

offense.” Id. And, the Fourth Circuit determined that defendant’s latter argument was either



       2
         Pursuant to Fed. R. Evid. 201, I may take judicial notice of public docket entries,
pleadings, and papers in other cases.


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contradicted by or without support in the record. Id. at 143-44. Accordingly, the Court affirmed

defendant’s conviction and sentence. Id. at 144.

       Defendant represents that he is currently serving his sentence at Fort Dix FCI. ECF 588;

ECF     591;    ECF     597;    see   Find     an    Inmate,    Federal    Bureau     of   Prisons,

https://www.bop.gov/inmateloc/ (last visited October 22, 2021).3 He has a projected release date

of June 12, 2028. See Find an Inmate, supra. To date, he has served approximately 33% of his

twelve-year sentence.

       According to defendant, if the Motion is granted, “he would reside at 4230 Stanwood

Avenue, Baltimore, Maryland 202067; a four bedroom home with Darlene McDonald,” who is a

registered nurse. ECF 573 at 8. The PSR reflects that Bagley was in a relationship with Ms.

McDonald for five years prior to his current term of incarceration. ECF 489, ⁋ 37. Further, he

indicates that, upon release, he plans to work for “WRI Walters Relocation Moving Company”

and he will obtain health insurance with Met Life. Id. Moreover, defendant advises that he has

made “significant progress in the B.O.P.’s vocational and educational programs.” Id.

       In the Motion, Bagley also asks the Court to appoint counsel for him. Id. at 2.          On

November 1, 2020, the OPD filed a letter with the Court indicating that it would not be

supplementing the Motion. ECF 577. But, the OPD provided two documents regarding the

exhaustion of defendant’s administrative remedies. Specifically, these records reflect that on

August 6, 2020, defendant filed a request for compassionate release with the Warden of the




       3
        At the time of filing the Motion, defendant was serving his sentence at Schuylkill FCI.
See ECF 573 at 2, 5. But, in a later filing, Bagley reported that he was transferred to Fort Dix FCI
on October 8, 2020. ECF 582.


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institution where he was then incarcerated. See ECF 577-1. The request was denied soon

thereafter. See ECF 577-2.

       In addition, subsequent to filing the Motion, defendant submitted a number of filings with

the Court. Characterized broadly, they reassert the basis of his claim for compassionate release

and provide the Court with updates regarding the condition of defendant’s health and the spread

of COVID-19 at Fort Dix FCI. See ECF 582; ECF 591; ECF 597; ECF 598; ECF 599; ECF 600.

                                   II. Appointment of Counsel

       Bagley asks the Court to appoint counsel for him to assist in this action. See ECF 573;

ECF 600. There is no constitutional right to appointed counsel in post-conviction proceedings.

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“The right to appointed counsel extends to the

first appeal of right, and no further.”). Rather, the determination to appoint counsel in this context

rests solely within the discretion of the district court. See United States v. Legree, 205 F.3d 724,

730 (4th Cir. 2000) (explaining that a district court has the discretion to appoint defendant counsel

under 18 U.S.C. § 3582(c) in exceptional circumstances).

       Bagley does not present the Court with any specific reasons as to why he should be granted

counsel.    And, a review of defendant’s case does not reveal any unusual or exceptional

circumstances that would warrant the appointment of counsel. Moreover, defendant has ably

demonstrated the ability to articulate the legal and factual basis of his claims. Therefore, I shall

deny defendant’s request for the appointment of counsel, without prejudice.

                                   III. Compassionate Release

                                      A. Standard of Review

       Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United



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States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395

(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. Originally, a court was permitted to alter a sentence only

upon a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030 (1984).

Thus, a defendant seeking compassionate release had to rely on the BOP Director for relief. See,

e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018); Jarvis v.

Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008) (denying

compassionate release motion because § 3582 “vests absolute discretion” in the BOP).

       However, for many years the safety valve of § 3582 languished. The BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S. Sentencing

Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice)

(observing that, on average, only 24 inmates were granted compassionate release per year between

1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release mechanism

when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat. 5239 (2018);

see United States v. McCoy, 981 F.3d 271, 276 (4th Cir. 2020). As amended by the FSA, 18 U.S.C.

§ 3582(c)(1)(A) permits a court to reduce a defendant’s term of imprisonment “upon motion of

the Director of [BOP], or upon motion of the defendant after the defendant has fully exhausted all



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administrative rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf

or the lapse of 30 days from the receipt of such a request by the warden of the defendant’s facility,”

whichever occurs first. So, once a defendant has exhausted his administrative remedies, he may

petition a court directly for compassionate release. McCoy, 981 F.3d at 276.

       Under § 3582(c)(1)(A), the court may modify the defendant’s sentence if, “after

considering the factors set forth in section 3553(a) to the extent that they are applicable,” it finds

that

       (i) extraordinary and compelling reasons warrant such a reduction;

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses
       for which the defendant is currently imprisoned, and a determination has been made
       by the Director of the Bureau of Prisons that the defendant is not a danger to the
       safety of any other person or the community, as provided under section 3142(g);

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), the

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of his sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with applicable policy statements issued by the

Sentencing Commission.

       Notably, “Section 3582(c)(1)(A)(i) does not attempt to define the ‘extraordinary and

compelling reasons’ that might merit compassionate release.” McCoy, 981 F.3d at 276. But, in

U.S.S.G. § 1B1.13, titled “Reduction in Term of Imprisonment under 18 U.S.C. § 3582(c)(1)(A)

Policy Statement,” the Sentencing Commission addressed the “extraordinary and compelling

reasons” that might warrant compassionate release. See McCoy, 981 F.3d at 276. The Sentencing

Commission acted pursuant to 28 U.S.C. § 994(t), as well as § 994(a)(2)(C). McCoy, 981 F.3d at

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276. However, as the McCoy Court observed, the policy statement was issued in 2006 and was last

updated in November 2018, prior to the enactment of the First Step Act in December 2018. Id.

       In particular, U.S.S.G. § 1B1.13 provides that, on motion by the Director of the BOP, the

court may reduce a sentence where warranted by extraordinary or compelling reasons (§

1B1.13(1)(A)); the defendant is at least 70 years old and has served at least 30 years in prison (§

1B1.13(1)(B)); the defendant is not a danger to the safety of any other person or to the community

(§ 1B1.13(2)); and the reduction is consistent with the policy statement. U.S.S.G. § 1B1.13(3).

       The Application Notes to U.S.S.G. § 1B1.13 indicate that compassionate release may be

based on circumstances involving illness, declining health, age, exceptional family circumstances,

as well as “other reasons.” U.S.S.G. § 1B1.13 App. Notes 1(A)-(D). Application Note 1 to

U.S.S.G. § 1B1.13 defines “Extraordinary and Compelling Reasons” in part as follows:

        1. Extraordinary and Compelling Reasons.—Provided the defendant meets
        the requirements of subdivision (2), extraordinary and compelling reasons exist
        under any of the circumstances set forth below:

        (A)    Medical Condition of the Defendant.—

    (i) The defendant is suffering from a terminal illness (i.e., a serious and advanced
        illness with an end of life trajectory). A specific prognosis of life expectancy (i.e.,
        a probability of death within a specific time period) is not required. Examples
        include metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-
        stage organ disease, and advanced dementia.

   (ii) The defendant is—

           (I) suffering from a serious physical or medical condition,

           (II) suffering from a serious functional or cognitive impairment, or

           (III) experiencing deteriorating physical or mental health because of the
                aging process,




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               that substantially diminishes the ability of the defendant to provide self-care
               within the environment of a correctional facility and from which he or she
               is not expected to recover.

       Application Note 1(B) provides that age is an extraordinary and compelling reason where

the defendant is at least 65 years of age, has serious physical or mental health issues, and has served

at least 10 years in prison or 75% of the sentence. Application Note 1(C) concerns Family

Circumstances. Application Note 1(D), titled “Other Reasons,” permits the court to reduce

a sentence where, “[a]s determined by the Director of the Bureau of Prisons, there exists in the

defendant’s case an extraordinary and compelling reason other than, or in combination with, the

reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13 App. Note 1(D). This is

the “so-called, ‘catch-all’ category.” McCoy, 981 F.3d at 276.

       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and 4205.

However, the Court may not rely on the Program Statement. Rather, the Court must consider the

Sentencing Commission’s policy statements. United States v. Taylor, 820 F. App’x 229, 229-30

(4th Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t)

(directing Sentencing Commission to “describe what should be extraordinary and compelling

reasons for sentence reduction”).

       As noted, “[w]hen deciding whether to reduce a defendant’s sentence under §

3582(c)(1)(A), a district court may grant a reduction only if it is ‘consistent with applicable policy

statements issued by the Sentencing Commission.’” United States v. Taylor, 820 F. App’x 229,

230 (4th Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t)

(directing Sentencing Commission to “describe what should be extraordinary and compelling

reasons for sentence reduction”). However, as indicated, the policy statement in § 1B1.13 of the

Guidelines was last updated in November 2018, before the enactment of the First Step Act. Thus,

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it is only “directed at BOP requests for sentence reductions.” McCoy, 981 F.3d at 276 (citing

U.S.S.G. § 1B1.13). In other words, “[b]y its plain terms . . . § 1B1.13 does not apply to defendant-

filed motions under § 3582(c)(1)(A).” Id. at 282; see also United States v. Zullo, 976 F.3d 228,

230 (2nd Cir. 2020); United States v. Jones, 980 F.3d 1098, 1108-12 (6th Cir. 2020); United States

v. Gunn, 980 F.3d 1178, 1180-81 (7th Cir. 2020).

       Accordingly, “[a]s of now, there is no Sentencing Commission policy statement

‘applicable’ to [] defendants’ compassionate-release motions, which means that district courts

need not conform, under § 3582(c)(1)(A)’s consistency requirement, to § 1B1.13 in determining

whether there exist ‘extraordinary and compelling reasons’ for a sentence reduction.” McCoy, 981

F.3d at 283. Therefore, district courts are “‘empowered…to consider any extraordinary and

compelling reason for release that a defendant might raise.’” McCoy, 981 F.3d at 284 (quoting

Zullo, 976 F.3d at 230).

       As the movant, the defendant bears the burden of establishing that he is entitled to a

sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715 F.3d 328,

337 (11th Cir. 2013); United States v. Edwards, 451 F.Supp.3d 562, 565 (W.D. Va. 2020). If the

defendant can show an extraordinary and compelling reason that renders him eligible for a sentence

reduction, the Court must then consider the factors under 18 U.S.C. § 3553(a) to determine

whether, in its discretion, a reduction of sentence is appropriate. Dillon, 560 U.S. at 826-27; see

also United States v. Kibble, 992 F.3d 326, 329-30 (4th Cir. 2021) (per curiam) (noting that district

court must consider § 3553(a) factors when considering a motion to reduce sentence under §

3582(c)(1)(A) and district court enjoys broad discretion in conducting this analysis); United States

v. Trotman, 829 Fed. App’x 607, 608-9 (4th Cir. 2020) (per curiam) (recognizing that, when

considering a motion to reduce sentence under 18 U.S.C. § 3582(c)(1)(A), the court must consider

the sentencing factors under 18 U.S.C. § 3553(a), to the extent applicable); United States v.

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Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020).

       To be sure, compassionate release is a “rare” remedy. Chambliss, 948 F.3d at 693-94;

United States v. Mangarella, FDW-06-151, 2020 WL 1291835, at *2-3 (W.D. N.C. Mar. 16,

2020); White v. United States, 378 F. Supp. 3d 784, 787 (W.D. Mo. 2019). But, a district court

abuses its discretion when it “act[s] arbitrarily or irrationally,” “fail[s] to consider judicially

recognized factors constraining its exercise of discretion,” “relie[s] on erroneous factual or legal

premises,” or “commit[s] an error of law.” United States v. High, 997 F.3d 181, 187 (4th Cir.

2021) (internal quotation marks omitted).

                                          B. COVID-194

       The World Health Organization declared COVID-19 a global pandemic on March 11,

2020. See Seth v. McDonough, 461 F. Supp. 3d 242, 247 (D. Md. 2020).5 Defendant filed his

motion for compassionate release in February 2021. At that time, as now, the nation was still “in

the grip of a public health crisis more severe than any seen for a hundred years.” Antietam

Battlefield KOA v. Hogan, CCB-20-1130, 461 F. Supp. 3d 214, 223 (D. Md. 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.




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           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.
       5
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. See Naming the Coronavirus Disease
and the Virus that Causes It, WORLD HEALTH ORG., https://bit.ly/2UMC6uW (last accessed June
15, 2020).

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       That said, the Court must reiterate that the COVID-19 pandemic has been described as the

worst public health crisis that the world has experienced since 1918. See United States v.

Hernandez, 451 F. Supp. 3d 301, 305 (S.D.N.Y. 2020) (“The COVID-19 pandemic . . . . presents

a clear and present danger to free society for reasons that need no elaboration.”). Indeed, the

pandemic “produced unparalleled and exceptional circumstances affecting every aspect of life as

we have known it.” Cameron v. Bouchard, LVP-20-10949, 2020 WL 2569868, at *1 (E.D. Mich.

May 21, 2020), vacated on other grounds, 815 F. App’x 978 (6th Cir. 2020). For a significant

period of time, life as we have known it came to a halt. For quite some time, businesses and

schools were shuttered or operated on a limited basis. This is because, the virus is highly

contagious. See Coronavirus Disease 2019 (COVID-19), How COVID-19 Spreads, CTRS. FOR

DISEASE CONTROL & PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh.

       Many people who are stricken with the virus experience only mild or moderate symptoms.

But, the virus can cause severe medical problems as well as death, especially for those in “high-

risk categories . . . .” Antietam Battlefield KOA, 461 F. Supp. 3d at 223 (citation omitted). As of

November 1, 2021, COVID-19 has infected more than 45 million Americans and caused

approximately 745,000 deaths in this country. See COVID-19 Dashboard, The Johns Hopkins

Univ., https://bit.ly/2WD4XU9 (last accessed Nov. 1, 2021).

       Although this country saw a reduction of COVID-19 cases in prior months, the spread of

the Delta variant reversed this trend. See Apoorva Mandavilli, What to Know About Breakthrough

Infections    and      the     Delta     Variant,      N.Y.     TIMES      (Aug.      14,     2021),

https://www.nytimes.com/article/covid-breakthrough-delta-variant.html. (noting that, as of

August 14, “[i]nfections have spiked to the highest levels in six months”). Indeed, the Delta variant

is thought to be more virulent and capable of causing more severe illness than were earlier strains



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of COVID-19. See Delta Variant: What We Know About the Science, CTRS. FOR DISEASE CONTROL

AND     PREVENTION,       https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html

(updated Aug. 6, 2021) (noting that the Delta variant is “more than [two times] as contagious as

previous variants”).

        But, in recent weeks, the trend has again become more favorable. See David Leonhardt,

Covid       Cases       Keep        Falling,      N.Y.       TIMES,        Oct.      27,       2021,

https://www.nytimes.com/2021/10/26/briefing/covid-cases-falling-delta.html (“The number of

new daily COVID-19 cases has plunged since peaking on Sept.1. Almost as encouraging as the

magnitude of the decline is its breadth: Cases have been declining in every region.”); see also Jon

Kamp & Brianna Abbott, Delta Variant Recedes Across the United States, WALL ST. J., Nov. 1,

2021,    https://www.wsj.com/articles/delta-surge-of-covid-19-recedes-leaving-winter-challenge-

ahead-11635672600 (“The Delta-fueled wave continues to take a serious toll, but the seven day

average in reported deaths has dropped to about 1,400 a day from daily averages above 2,000 in

late September, Johns Hopkins data show.”). Even so, health authorities warn that there remain

reasons for caution, including the relatively low levels of vaccination in parts of the country, as

well as an expected increase in the number of indoor gatherings, where the virus can more easily

spread, due to the encroachment of colder weather and the impending holiday season. See Kamp

& Abbott, supra.

        Of relevance here, the Centers for Disease Control and Prevention (“CDC”) has identified

certain risk factors that may increase the chance of severe illness due to the virus. Those risk

factors initially included age (over 65); lung disease; asthma; chronic kidney disease; serious heart

disease; obesity; diabetes; liver disease; and a compromised immune system. See Coronavirus




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Disease 2019 (COVID-19), People Who Are at Risk for Severe Illness, CTRS. FOR DISEASE

CONTROL & PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.

       The CDC has repeatedly revised its guidance as to medical conditions that pose a greater

risk of severe illness due to COVID-19 to reflect the most available data, most recently in October

of 2021.    See People with Certain Medical Conditions, CTRS. FOR DISEASE CONTROL &

PREVENTION (Oct. 14, 2021), https://bit.ly/38S4NfY. [hereinafter Certain Medical Conditions].

According to the CDC, the factors that increase the risk include cancer; chronic kidney disease;

chronic lung diseases, including COPD, asthma (moderate to severe), bronchiectasis,

bronchopulmonary dysplasia (chronic lung disease affecting newborns), interstitial lung disease,

cystic fibrosis, and pulmonary embolism; pulmonary hypertension; dementia or other neurological

conditions; diabetes (Type 1 and Type 2); Down syndrome; heart conditions, such as heart failure,

coronary artery disease, cardiomyopathy, and hypertension; HIV; being immunocompromised;

liver disease; mood disorders, including depression and schizophrenia spectrum disorder; obesity,

with a body mass index (“BMI”) of 25 or higher; pregnancy; sickle cell disease or thalassemia;

smoking (current or former); solid organ or blood stem cell transplant; stroke or cerebrovascular

disease; substance use disorders; and, tuberculosis. Id.

       The CDC has also indicated that the risk for severe illness from COVID-19 increases with

age, with older adults at highest risk.      See Older Adults At Greater Risk of Requiring

Hospitalization or Dying if Diagnosed with COVID-19, CTRS. FOR DISEASE CONTROL &

PREVENTION (Nov. 27, 2020), https://bit.ly/3g1USZ1. Furthermore, the CDC cautions that the

“risk of severe COVID-19 increases as the number of underlying medical conditions increases in

a person.” Certain Medical Conditions, supra.




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       To stem the spread of the virus, people were urged to practice “social distancing” and to

wear masks. See Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others,

CTRS. FOR DISEASE CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed December 9,

2020). However, social distancing is particularly difficult in the penal setting. Seth, 2020 WL

2571168, at *2; Senate Judiciary Hrg. Transcript on Incarceration during COVID-19, REV.COM

(June 2, 2020) (Testimony of BOP Dir. Michael Carvajal at 47:00) (“Prisons by design are not

made for social distancing. They are on [sic] the opposite made to contain people in one area.”).

Indeed, prisoners have little ability to isolate themselves from the threat posed by the coronavirus.

Id.; see Cameron, 2020 WL 2569868, at *1; see also United States v. Mel, TDC-18-0571, 2020

WL 2041674, at *3 (D. Md. Apr. 28, 2020) (“In light of the shared facilities, the difficulty of social

distancing, and challenges relating to maintaining sanitation, the risk of infection and the spread

of infection within prisons and detention facilities is particularly high.”). Prisoners usually “share

bathrooms, laundry and eating areas,” and are often “bunked in the same cell” with several others.

Amanda Klonsky, An Epicenter of the Pandemic Will Be Jails and Prisons, if Inaction Continues,

N.Y. TIMES (Mar. 16, 2020). And, they are not free to follow their own rules.

       To illustrate, prisoners are not readily able to secure safety products on their own to protect

themselves, such as masks and hand sanitizers, nor are they necessarily able to separate or distance

themselves from others. See Kim Bellware, Prisoners and Guards Agree About Federal

Coronavirus Response: ‘We do Not Feel Safe,’ WASH. POST (Aug. 24, 2020) (reporting use of non-

reusable masks for months and a lack of transparency around policies for personal protective

equipment and testing). They do not get to decide where, when, or how to eat or sleep.

Consequently, correctional facilities are especially vulnerable to viral outbreaks and ill-suited to

stem their spread. See Coreas v. Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr.



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3, 2020) (“Prisons, jails, and detention centers are especially vulnerable to outbreaks of COVID-

19.”); see also Eddie Burkhalter et al., Incarcerated and Infected: How the Virus Tore Through

the U.S. Prison System, N.Y. TIMES (Apr. 16, 2021) (stating that the “cramped, often unsanitary

settings of correctional institutions have been ideal for incubating and transmitting the disease.

Social distancing is often not an option.”); Letter of 3/25/20 to Governor Hogan from

approximately 15 members of Johns Hopkins faculty at the Bloomberg School of Public Health,

School of Nursing, and School of Medicine (explaining that the “close quarters of jails and prisons,

the inability to employ effective social distancing measures, and the many high-contact surfaces

within facilities, make transmission of COVID-19 more likely”); accord Brown v. Plata, 563 U.S.

493, 519-20 (2011) (referencing a medical expert’s description of the overcrowded California

prison system as “‘breeding grounds for disease’”) (citation omitted).

       On March 23, 2020, the CDC issued guidance for the operation of penal institutions to help

prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the Bureau of Prisons

(“BOP”) implemented substantial measures to mitigate the risks to prisoners, to protect inmates

from COVID-19, and to treat those who are infected. Indeed, as the Third Circuit recognized in

United States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and

professional efforts to curtail the virus’s spread.”6


       6
           The New York Times reported in June 2020 that cases of COVID-19 “have soared in
recent weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus cases
Rise Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2; See Cases in Jails and Prisons, N.Y. TIMES (Oct. 29, 2020) (On October
29, 2020, the New York Times reported that, “[i]n American jails and prisons, more than 252,000
people have been infected and at least 1,450 inmates and correctional officers have died” from
COVID-19.). On November 21, 2020, the New York Times reported that “U.S. correctional
facilities are experiencing record spikes in coronavirus infections this fall. During the week of
Nov. 17, there were 13,657 new coronavirus infections reported across the state and federal prison
systems.” America Is Letting the Coronavirus Rage Through Prisons, N.Y. TIMES (Nov. 21, 2020),
https://www.nytimes.com/2020/11/21/opinion/sunday/coronavirus-prisons-jails.html.

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        The Department of Justice (“DOJ”) recognized the unique risks from COVID-19

experienced by inmates and employees of the BOP. The DOJ adopted the position that an inmate

who presents with one of the risk factors identified by the CDC should be considered as having an

“extraordinary and compelling reason” warranting a sentence reduction. See U.S.S.G. § 1B1.13

cmt. n.1(A)(ii)(I).

        Former Attorney General William Barr issued a memorandum to Michael Carvajal,

Director of the BOP, on March 26, 2020, instructing him to prioritize the use of home confinement

for inmates at risk of complications from COVID-19. See Hallinan v. Scarantino, 20-HC-2088-

FL, 2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress

passed the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No.

116-136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend

the permissible length of home confinement, subject to a finding of an emergency by the Attorney

General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, Attorney General Barr issued

another memorandum to Carvajal, finding “the requisite emergency . . . .” Hallinan, 2020 WL

3105094, at *9. Notably, the April 3 memorandum “had the effect of expanding the [BOP’s]

authority to grant home confinement to any inmate . . . .” Id.

        On May 8, 2020, two BOP officials, Andre Matevousian, then Acting Assistant Director

of the Correctional Programs Division, and Hugh Hurwitz, then Assistant Director of the Reentry

Services Division, issued a memorandum to implement the Attorney General’s directives on the

increased use of home confinement. The memorandum provided that the BOP was prioritizing


        On April 16, 2021, the New York Times reported that at least 39% of prisoners are known
to have been infected in federal facilities. Eddie Burkhalter et al., Incarcerated and Infected: How
the Virus Tore Through the U.S. Prison System, N.Y. TIMES (Apr. 10, 2021). And, according to
the article, the actual count is most likely much higher “because of the dearth of testing.” Id.
Nevertheless, with the passage of time, the outbreaks of COVID-19 have declined.

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the review of inmates for home confinement as to inmates who have either served a certain portion

of their sentence or who only have a short amount of time remaining on their sentence.

       Although there is currently no cure for the virus, medical treatments have continued to

improve. And, significantly, we have seen the rollout of three vaccines for COVID-19 (Pfizer,

Moderna, and Johnson & Johnson). Initially, the vaccines were made available to health care

workers, the elderly in nursing homes, and first responders. But, the criteria for eligibility has

since expanded considerably, and the vaccine was recently approved for all persons five years of

age and older. See Cheyenne Haslett, FDA Authorizes COVID-19 Vaccine for Kids 5-11, ABC

NEWS, Oct. 29, 2021, https://abcnews.go.com/Politics/fda-authorizes-covid-19-vaccine-kids-

11/story?id=80846188. Approximately 68% of all persons twelve years of age and older is fully

vaccinated.    See How Vaccinations Are Going in Your County and State, N.Y. Times,

https://www.nytimes.com/interactive/2020/us/covid-19-vaccine-doses.html (last visited Nov. 1,

2021). And, 58% of the total U.S. population is fully vaccinated. See id.

       Given the vaccine rollout, the BOP published “COVID-19 Vaccine Guidance” on January

4, 2021 (version 7.0). COVID-19 Vaccine Guidance, Federal Bureau of Prisons Clinical Guidance

(Jan. 4, 2021), https://www.bop.gov/resources/pdfs/2021_covid19_vaccine.pdf. Administration of

the COVID-19 vaccine (Pfizer and Moderna) will “align with [recommendations of] the Centers

for Disease Control and Prevention.” Id. at 4. Its plan was for prisoners at heightened risk to

receive priority for the vaccine. Id. at 6. The BOP reportedly received its first shipment of vaccines

on December 16, 2020. Walter Pavlo, Federal Bureau of Prisons Starts Vaccination of Staff,

Inmates          Soon          Thereafter,          Forbes          (Dec.         21,          2020),

https://www.forbes.com/sites/walterpavlo/2020/12/21/               federal-bureau-of-prisons-starts-

vaccination-of-staff-inmates-soon-thereafter/?sh=5683b99aa96f.



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       As of November 1, 2021, the BOP reported that 148 out of a total 133,043 federal inmates

and 351 BOP staff out of some 36,000 staff members, currently test positive for COVID-19;

42,747 inmates and 8,190 staff have recovered from the virus; and 266 inmates and seven staff

members have died from the virus. Moreover, the BOP has administered 239,924 vaccine doses

to staff and inmates. See https://www.bop.gov/coronavirus/ (last accessed Nov. 1, 2021).

       With respect to Fort Dix FCI where defendant is imprisoned, the BOP reported that as of

November 1, 2021, out of a 3,160 total of inmates, three have tested positive. And, five staff

members have tested positive for COVID-19, and 1,630 inmates and 101 staff have recovered at

the facility. In addition, 2,058 inmates, as well as 261 staff members, have been fully inoculated

with the vaccine. See https://www.bop.gov/coronavirus/, supra; FCI Fort Dix, Federal Bureau of

Prisons, http://www.bop.gov/locations/institutions/ftd (last visited Nov. 1, 2021). And, according

to BOP records submitted with the Opposition, defendant has “completed his vaccination against

COVID-19.” ECF 613 at 7; see ECF 613-1 at 1.

                                          C. Discussion

                          1. Extraordinary and Compelling Reasons

       Bagley has moved for compassionate release on the grounds that his underlying health

conditions, including his weight, hypertension, and prediabetes, render him particularly vulnerable

to COVID-19 and constitute an extraordinary and compelling circumstance that warrants his

release from prison. ECF 573 at 3-4. Bagley also informed the Court that he contracted COVID-

19 in December 2020. See ECF 597; ECF 598. Thereafter, defendant claims that he was “locked

on a floor with 96 other positive tested inmates, and forced to self heal and endure extreme pain

with little to none [sic] medical care, which amounted to the unnecessary and wanton infliction of

pain and abnormalities . . . .” ECF 597 at 2.



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       The medical records provided for the defendant by the government consist of 75 pages.

They show, inter alia, that in May 2021, the defendant weighed 176.8 pounds and is 5 feet six

inches tall. ECF 61-32 at 17. Moreover, he has been treated for migraine headaches and sinus

congestion. And, he was evaluated after he fell from the top bunk. Id. at 26, 31. The records also

confirm that he tested positive for COVID-19. Id. at 34. But, he has since been vaccinated for

COVID-19. ECF 613-1. In the government’s view, defendant’s medical issues do not merit

compassionate release. ECF 613 at 8.

       In the Reply, defendant rejects the government’s position, arguing that although he has

previously contracted COVID-19 and has been fully vaccinated, “the scientific evidence and court

decisions leave no doubt that Mr. Bagley can be infected by the Delta variant and could die as a

result.” ECF 626 at 7. And, defendant submits that he suffers from side-effects from his COVID-

19 infection, as well as from an anxiety disorder, presbyopia, migraine headaches, and a ganglion

cyst. Id. at 5. Defendant further submits that BOP staff are incapable of protecting him from

COVID-19, particularly in light of the increased transmissibility and severity of the Delta variant.

See id. at 11-14.

       As a preliminary matter, defendant’s prediabetes, ganglion cyst, anxiety disorder, migraine

headaches, and previous COVID-19 infection are not considered by the CDC to be medical

conditions that render defendant particularly vulnerable to severe illness from COVID-19.

Moreover, Bagley’s medical records reflect that although defendant previously contracted the

virus that causes COVID-19, he did not develop symptoms. See ECF 613-2 at 34, 56, 57. And,

the most recent information reported in defendant’s medical records indicates that defendant stands

five feet and six inches tall and now weighs 176.8 pounds. See ECF 613-2 at 17, 18. This




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corresponds to a BMI of 28.5, which would qualify defendant as overweight, but not obese. See

Certain Medical Conditions, supra.

       In any event, according to the CDC, being either obese or overweight, along with

hypertension, “can make you more likely to get severely ill from COVID-19.” Id. Furthermore,

the CDC cautions that “[t]he risk of severe COVID-19 increases as the number of underlying

medical conditions increases in an individual.” Id.

       Defendant’s vaccination reduces his risk of severe illness if he were to again contract

COVID-19. But, it does not preclude defendant from showing that his underlying medical

conditions present an extraordinary and compelling circumstance. As Judge Blake of this Court

explained:

       [T]he fact that [defendant] received a vaccine does not negate that his underlying
       health conditions make him eligible for compassionate release. To conclude
       otherwise would ignore the remaining unknowns about the protection the vaccine
       can provide and would create a perverse incentive for prisoners . . . who seek
       compassionate release on the basis of medical conditions to decline the vaccine for
       fear it would preclude relief.

United States v. Spriggs, CCB-10-364, 2021 WL 1856667, at *3 (D. Md. May 10, 2021).

       And, although the evidence available to the Court indicates that the vaccines effectively

reduce the risk to vulnerable individuals posed by COVID-19, recent developments make clear

that the nature of the pandemic is continually evolving. For example, the CDC has confirmed that

breakthrough infections of COVID-19 among vaccinated individuals occur and, in rare cases,

result in hospitalization or death. See COVID-19 Vaccine Breakthrough Case Investigation and

Reporting, CNTRS.   FOR   DISEASE CONTROL, Oct. 18, 2021, https://tinyurl.com/y34zjydc, (last

accessed Oct. 25, 2021) (noting that, of the 189 million fully vaccinated Americans, 41,127

patients who suffered breakthrough infections have been hospitalized or died, as of October 18,

2021). Moreover, the CDC has recommended that some of those who were previously considered

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to be fully vaccinated should receive a booster shot of an authorized vaccine in order to maintain

their protection against COVID-19. See CDC Expands Eligibility for COVID-19 Booster Shots,

CNTRS. FOR DISEASE CONTROL, Oct. 21, 2021, https://tinyurl.com/5bn52ydb, (last accessed Oct.

24, 2021).

        “At the end of the day, district judges are not epidemiologists.” United States v. Sherrod,

19-20139, 2021 WL 3473236, at *5 (E.D. Mich. Aug. 6, 2021). In light of the evolving

circumstances regarding COVID-19, coupled with defendant’s medical issues, I conclude that

Bagley’s vaccination status does not render him ineligible for compassionate release. See United

States v. Palmer, PWG-13-623, 2021 WL 3212586, at *3 (D. Md. Jul. 29, 2021) (“It is impossible

to predict the impact of the vaccines on future strains of the virus, just as it is impossible to predict

the impact of COVID-19 on [defendant’s] specifical medical issues.”). I am also satisfied that

defendant’s health conditions qualify him for compassionate release. See United States v. Carter,

CCB-16-235, 2021 WL 3725425, at *2 (D. Md. Aug. 20, 2021) (granting compassionate release

to a vaccinated defendant who was obese and suffered from hypertension and Hodgkin

Lymphoma); United States v. Garcia, CCB-11-569, 2021 WL 4846937, at *2 (D. Md. Oct. 15,

2021) (finding that a vaccinated defendant’s diabetes and hypertension constituted extraordinary

and compelling circumstances). That determination does not end the inquiry, however.

                                            2. Sentencing Factors

        The coronavirus is not “tantamount to a ‘get out of jail free’ card.” United States v.

Williams, PWG-13-544, 2020 WL 1434130, at *3 (D. Md. Mar. 24, 2020) (Day, M.J.). Even

where a court finds extraordinary and compelling reasons for compassionate release, relief is

appropriate under 18 U.S.C. § 3582(c)(1)(A) only if the defendant is not a danger to the safety of

any other person or to the community, as provided in 18 U.S.C. § 3142(g). The Court must also



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consider the factors set forth in 18 U.S.C. § 3553(a). See High, 997 F.3d at 186; see also United

States v. Butts, ___ F. App’x ___, 2021 WL 3929349, at *2 (4th Cir. Sept. 2, 2021) (per curiam).

These include: (1) the nature of the offense and the defendant's characteristics; (2) the need for the

sentence to reflect the seriousness of the offense, promote respect for the law, and provide just

punishment; (3) the kinds of sentences available and the applicable Guidelines range; (4) any

pertinent Commission policy statements; (5) the need to avoid unwarranted sentence disparities;

and (6) the need to provide restitution to victims. High, 997 F.3d at 186.

       In this case, I am persuaded that Bagley’s release from prison would be inconsistent with

the § 3553(a) factors. Bagley informs the Court that, if released, he would have a place to live

upon his release, an opportunity for employment, and access to health insurance. See ECF 573 at

8. Defendant also asserts that he has made “significant progress in the B.O.P’s vocational and

educational programs.” Id. And, the Court notes that, prior to his conviction for the instant

offense, defendant had only one criminal conviction for attempting to elude a police officer by

failing to stop while driving. ECF 489, ⁋⁋ 25-26.

       However, the seriousness and duration of the instant offense, and particularly defendant’s

role in the offense, strongly militate against granting the Motion at this juncture. Over the course

of more than five years, defendant led a drug trafficking organization that distributed hundreds of

doses of heroin on a daily basis. ECF 458 at 8. Moreover, defendant has only served about four

years in prison, which equates to about one-third of the total sentence and less than half of the

mandatory minimum sentence that Congress determined would appropriately reflect the

seriousness of the offense of conviction. See Kibble, 992 F.3d at 332-33 (finding district court was

entitled to consider amount of time defendant served and the nature of the offense as factors in




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the § 355(a) analysis).    Moreover, defendant has not provided the Court with any evidence

regarding his disciplinary record while incarcerated.

       In my view, defendant’s release at this time would not adequately ensure the safety of the

community, given the recency, duration, and scope of the instant offense. Furthermore, the

abbreviated time defendant has served to date is insufficient to reflect the seriousness of the offense

and to promote deterrence. Accordingly, as I see it, a balancing of the § 3553(a) factors indicates

that defendant’s release from prison is not warranted at this time.

                                          IV. Conclusion

       For the reasons elaborated above, I shall deny defendant’s Motion, as to his request for the

appointment of counsel and as to his request for compassionate release (ECF 573), without

prejudice.

       An Order follows, consistent with this Memorandum Opinion.




Date: November 1, 2021                                         /s/
                                                        Ellen L. Hollander
                                                        United States District Judge




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